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                                                          SUMMONS

Attorney(s) Oa1Titv Graham Murphy Garofalo & Flinn. PC
                                                                                       Superior Court of
Office Address 425 Eagle Rock Ave., Suite 202
Town, State, Zip Code Roseland, NJ 07068
                                                                                         New Jersey
                                                                                       _E_ss_e_x_ _ _ _ County
Telephone Number _9~73_-_50_9_-7_5_0_0_ _ _ _ _ _ _ __                                 Law
                                                                                       - - - - - - Division
Attorney(s) for Plaintiff Raymonds's Restaurant Corporation                    Docket No: ESX-L-007974-24
d/b/a Raymon's (Montclair)
Raymond's Restaurant Corporation d/b/a
         Plaintiff(s)
                                                                                        CIVIL ACTION
    vs.                                                                                   SUMMONS
The Travelers Indemnity Company of
Connecticut and ACE Property
        Defendant(s)

From The State of New Jersey To The Defendant(s) Named Above:

     The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The complaint attached
to this summons states the basis for this lawsuit. If you dispute this complaint, you or your attorney must file a written
answer or motion and proof of service with the deputy clerk of the Superior Court in the county listed above within 35 days
from the date you received this summons, not counting the date you received it. (A directory of the addresses of each deputy
clerk of the Superior Court is available in the Civil Division Management Office in the county listed above and online at
httn://www.ni.::ouns.uov.) If the complaint is one in foreclosure, then you must file your written answer or motion and proof
of service with the Clerk of the Superior Court, Hughes Justice Complex, P .0. Box 971, Trenton, NJ 08625-0971. A filing
fee payable to the Treasurer, State of New Jersey and a completed Case Information Statement (available from the deputy
clerk of the Superior Court) must accompany your answer or motion when it is filed. You must also send a copy of your
answer or motion to plaintiffs attorney whose name and address appear above, or to plaintiff, ifno attorney is named above.
A telephone call will not protect your rights; you must file and serve a written answer or motion (with fee of $175 .00 and
completed Case Information Statement) if you want the court to hear your defense.

     If you do not file and serve a written answer or motion within 35 days, the court may enter a judgment against you for
the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you, the Sheriff may seize your
money, wages or property to pay all or part of the judgment.

     If you cannot afford an attorney, you may call the Legal Services office in the county where you live or the Legal
Services of New Jersey Statewide Hotline at 1-888-LSNJ-LA W (1-888-576-5529). If you do not have an attorney and are
not eligible for free legal assistance, you may obtain a referral to an attorney by calling one of the Lawyer Referral Services.
A directory with contact infonnation for local Legal Services Offices and Lawyer Referral Services is available in the Civil

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Division Management Office in the county listed above and online at hti Jt/.~.www.nj<.:ourts,aov.

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                                                                   I        • Clerk of the Superior Comi'

DATED:       11/15/2024
Name of Defendant to Be Served: The Travelers Indemnity Company of Connecticut
                                c/o New )erse}'. Dept. of
Address of Defendant to Be Served: Banking & Insurance, 20 W. State St., Trenton, NJ 08625




Revised 11/17/2014, CN 10792-English (Appendix XII-A)
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P.O.Box438
East Hanover, NJ 07936
Telephone: 973 509-7 500
Attorneys for Plaintiff, Raymonds
Restaurant Corp. d/b/a Raymond's (Montclair)
Our File No.: 990.27942/FXG

RAYMOND'S RESTAURANT                                     SUPERIOR COURT OF NEW JERSEY
CORPORATION d/b/a RA YMOND;S                             LAW DIVISION: ESSEX COUNTY
(MONTCLAIR) and RAYMOND'S                                DOCKET NO. ESX-L-
RIDGEWOOD, LLC,
                       Plaintiffs,                                           Civil Action

                V.
                                                           COMPLAINT FOR DECLARATORY
THE TRAVELERS INDEMNITY                                            JUDGMENT
COMP ANY OF CONNECTICUT and
ACE PROPERTY AND CASUALTY
INSURANCE COMPANY,

                       Defendants .



                         .
       Plaintiffs, Raymond's Restaurant Corporation d/b/a Raymond's (Montclair) (hereinafter

"Raymond's      Montclair")   and Raymond's          Ridgewood,            LLC   (hereinafter "Raymond's

Ridgewood") complain of the defendants, The Travelers Indemnity Company of Connecticut

(hereinafter "Travelers") and ACE Property and Casualty Insurance Company (hereinafter

"ACE") and state:

                                          THE PARTIES

       1.       Plaintiff, Raymond's Montclair, is a corporation organized under the laws of the

State of New Jersey with its principal place of business at 28 Church Street, Montclair, New

Jersey 07042.
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         2.        Plaintiff, Raymond's Ridgewood, is a corporation organized under the laws of the

State of New Jersey with its principal place of business at 28 Church Street, Montclair, New

Jersey 07042.

         3.        Defendant, Travelers, is an insurance company authorized to do business in the

State of New Jersey.

         4.        Defendant, ACE, is an insurance company authorized to do business in the State

of New Jersey.

                                              COUNT ONE

     BREACH OF CONTRACT BY TRAVELERS - POLICY NO. 680-8J231653-19-42

         5.        Commencing on September 16, 2019 and ending on September 16, 2020, Travelers

issued a policy of insurance to Raymond's Montclair, to wit, Policy No. 680-8J231653-19-42.

         6.        The policy issued by Travelers to Raymond's Montclair provided for insurance

coverage for the risk of "employee dishonesty."

         7.        Specifically, the Travelers policy provided, in part, as follows, with respect to

employee dishonesty.

              d. Employee Dishonesty

              (1) We will pay for loss of or damage to Covered Property resulting
              directly from "employee dishonesty."

              We will pay for loss or damage you sustained through acts committed
              or event occurring during the Policy Period regardless of the number of
              years this insurance remains in force or the number of premiums paid,
              no limit of insurance cumulates year to year or period to period.

                                                  ***


         8.        Plaintiff Raymond's Montclair paid the premium for the insurance policy issued by

Travelers to it.


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       9.      Plaintiff Raymond's Montclair expected to receive the "benefit of its bargain" in

payment of the premium and receipt of the insurance policy, i.e. expected to receive insurance

coverage for employee dishonesty that occ1med during the policy period.

        10.    The Travelers policy covering employee dishonesty expressly covered for loss

during the Policy Period.

        11.    During the policy period of the Travelers policy during which coverage was

extended by Travelers to Raymond's Montclair for employee dishonesty, an employee, Michael

D'Elia, stole in excess of $25,000.

        12.    Due demand was made by Raymond's Montclair upon Travelers for payment of

$25,000 for the loss occurring during the Travelers policy period, i.e. during the period the

Travelers policy was in force covering Raymond's Montclair.

       13.     Travelers has refused to pay the $25,000 due under the policy contending that it

had a "non-cumulation" clause in its policy that precluded Raymond's Montclair from recovering

more than $25,000 for employee dishonesty and it had already paid that amount under another

policy, Policy No. 680-8J23 l 653-20-42 in effect during the period of September 16, 2020 to

September 16, 2021.

       14.     The New Jersey Supreme Court in Spaulding Composites Co., Inc. v. Aetna Cas.

& Surety Co., 176 N.J. 25 (2003) held that "non-cumulation" clauses were invalid as against public

policy in the State of New Jersey because insureds were entitled to the benefit of their bargain for

premium paid for each policy during which loss occurred.

       15.     Travelers has wrongfully denied coverage for the loss sustained by plaintiff

Raymond's Montclair during the policy period.




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        WHEREFORE, plaintiff Raymond's Montclair demands judgment against Travelers in

the amount of Twenty-Five Thousand ($25,000) Dollars plus interests and costs of suit.

                                                   COUNT TWO

     BREACH OF CONTRACT BY TRAVELERS - POLICY NO. 680-8J231653-21-42

        16.        Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 16

of this Complaint as though fully set forth herein.

        17.        Commencing on September 16, 2021 and ending on September 16, 2022, Travelers

issued a policy of insurance to Raymond's Montclair, to wit, Policy No. 680-8}231653-21-42.

        18.        The policy issued by Travelers to Raymond's Montclair provided for insurance

coverage for the risk of "employee dishonesty."

        19.        Specifically, the Travelers policy provided, in part, as follows, with respect to

employee dishonesty.

              d. Employee Dishonesty

              (1) We will pay for loss of or damage to Covered Property resulting
              directly from "employee dishonesty."

              We will pay for loss or damage you sustained through acts committed
              or event occurring during the Policy Period regardless of the number of
              years this insurance remains in force or the number of premiums paid,
              no limit of insurance cumulates year to year or period to period.

                                                       ***


        20.        Plaintiff Raymond's Montclair paid the premium for the insurance policy issued by

Travelers to it.

        21.        Plaintiff Raymond's Montclair expected to receive the "benefit of its bargain" in

payment of the premium and receipt of the insurance policy, i.e. expected to receive insurance

coverage for employee dishonesty that occurred during the policy period.


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        22.     The Travelers policy covering employee dishonesty expressly covered for loss

 during the Policy Period.

        23.     During the policy period of the Travelers policy during which coverage was

 extended by Travelers to Raymond's Montclair for employee dishonesty, an employee, Michael

 D'Elia, stole in excess of $25,000.

        24.     Due demand was made by Raymond's Montclair upon Travelers for payment of

 $25,000 for the loss occurring during the Travelers policy period, i.e. during the period the

 Travelers policy was in force covering Raymond's Montclair.

        25.     Travelers has refused to pay the $25,000 due under the policy contending that it

 had a "non-cumulation" clause in its policy that precluded Raymond's Montclair from recovering

 more than 25,000 for employee dishonesty and it had already paid that amount under another

 policy, Policy No. 680-8J231653-20-42 in effect during the period of September 16, 2020 to

 September 16, 2021.

        26.     The New Jersey Supreme Court in Spaulding Composites Co., Inc. v. Aetna Cas.

 & Surety Co., 176 N.J. 25 (2003) held that "non-cumulation" clauses were invalid as against public

 policy in the State of New Jersey because insureds were entitled to the benefit of their bargain for

 premium paid for each policy during which loss occurred.

        27.     Travelers has wrongfully denied coverage for the loss sustained by plaintiff

 Raymond's Montclair during the policy period.

        WHEREFORE, plaintiff Raymond's Montclair demands judgment against Travelers in

 the amount of Twenty-Five Thousand ($25,000) Dollars plus interests and costs of suit.




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                                             COUNT THREE

              BREACH OF CONTRACT BY ACE - POLICY NO. D951543113N

        28.     Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 27

 of this Complaint as though fully set forth herein.

        29.     Commencing on November 15, 2020 and ending on November 15, 2021 ACE

 issued a policy of insurance to Raymond's Ridgewood, to wit, Policy No. D951543 l l.

        30.     The Policy issued by ACE to Raymond's Ridgewood provided for insurance

 coverage for the risk "employee dishonesty."

        31.     The ACE policy provided, in part, as follows, with respect to employee dishonesty:

                Employee Dishonesty

                        a. We will pay for direct loss of or damage to Business
                           Personal Property and "money" and "securities"
                           resulting from dishonest acts committed by any of your
                           employees acting alone or in collusion with other
                           persons (except you or your partner) with the manifest
                           intent to:

                            (2) Cause you to sustain loss or damage;
                                and also
                            (3) Obtain financial benefit (other than salaries,
                                commissions, fees, bonuses, promotions, awards,
                                profit sharing, pensions or other employee benefits
                                earned in the normal course of employment) for:
                                (a)     Any employee; or
                                (b)     Any other person or organization.

                                                      ***

                        c. The most we will pay for loss or damage in any one
                           occurrence is the Limit Of Insurance for Employee
                           Dishonesty shown in the Declarations.
                        d. All loss or damage:
                           (1) Caused by one or more persons; or
                           (2) Involving a single act or series of acts;
                           Is considered one occurrence.
                        e. If any loss is covered:


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                          (1) Partly by this insurance; and
                          (2) Partly by any prior cancelled or terminated insurance
                          that we or any affiliate had issued to you or any
                          predecessor in interest;
                          the most we will pay is the larger of the amount
                          recoverable under this insurance or the prior insurance.

                          We will pay only for loss or damage you sustain through
                          acts committed or events occurring during the policy
                          period. Regardless of the number of years this policy
                          remains in force or the number of premiums paid, no
                          Limit of Insurance cumulates from year to year or period
                          to period.

                                                                 ***

       32.     Plaintiff Raymond's Ridgewood paid a premium for the policy issued by ACE to

it.

       33.     Plaintiff Raymond's Ridgewood expected to receive the "benefit of its bargain" in

payment of the premium and receipt of the insurance policy, i.e. expected to receive insurance

coverage for employee dishonesty that occurred during the policy period.

       34.     The ACE policy covering employee dishonesty expressly covered for loss during

the Policy Period.

       35.     During the policy period of the ACE policy during which coverage was extended

by ACE to Raymond's Ridgewood for employee dishonesty, an employee, Michael D'Elia, stole

in excess of $25,000.

       36.     Due demand was made by Raymond's Ridgewood upon ACE for payment of

$25,000 for loss occurring during the ACE policy period, i.e. during the period the ACE policy

was in force covering Raymond's Ridgewood.

       37.     ACE has refused to pay the $25,000 due under the policy in effect from November

15, 2020 to November 15, 2021 contending that it had a "non-cumulation' clause in its policy that



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 precluded Raymond's Ridgewood from recovering more than $25,000 for employee dishonesty

 and it had already paid that amount under another policy, Policy No. D95154311 in effect during

 the period ofNovember 15, 2022 to November 15, 2023.

        38.     The New Jersey Supreme Court in Spaulding Composites Co., Inc. v. Aetna Cas.

 & Surety Co., 176 NJ. 25 (2003) held that "non-cumulation" clauses were invalid as against public

 policy in the State of New Jersey because insureds were entitled to the benefit of their bargain for

 premium paid for each policy during which loss occurred.

        39.     ACE has wrongfully denied coverage under the policy issued to Raymond's

 Ridgewood.

        WHEREFORE, plaintiff Raymond's Ridgewood demands judgment against ACE in the

 amount of Twenty-Five Thousand ($25,000) Dollars plus interests and costs of suit.

                                              COUNT FOUR

               BREACH OF CONTRACT BY ACE - POLICY NO. D95154311

        40.     Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 39

 of this Complaint as though fully set forth herein.

        41.     Commencing on September 16, 2021 and ending on September 16, 2022 ACE

issued a policy of insurance to Raymond's Ridgewood, to wit, Policy No. D95154311.

        42.     The Policy issued by ACE to Raymond's Ridgewood provided for insurance

coverage for the risk "employee dishonesty."

        43.     The ACE policy provided, in part, as follows, with respect to employee dishonesty:

                Employee Dishonesty

                        a. We will pay for direct loss of or damage to Business
                           Personal Property and "money" and "securities"
                           resulting from dishonest acts committed by any of your
                           employees acting alone or in collusion with other


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                              persons (except you or your partner) With the manifest
                              intent to:

                              (4) Cause you to sustain loss or damage;
                                  and also
                              (5) Obtain financial benefit (other than salaries,
                                  commissions, fees, bonuses, promotions, awards,
                                  profit sharing, pensions or other employee benefits
                                  earned in the normal course of employment) for:
                                  (c)     Any employee; or
                                  (d)     Any other person or organization.

                                                     ***

                         c. The most we will pay for loss or damage in any one
                            occurrence is the Limit Of Insurance for Employee
                            Dishonesty shown in the Declarations.
                         d. All loss or damage:
                            (1) Caused by one or more persons; or
                            (2) Involving a single act or series of acts;
                            Is considered one occurrence.
                         e. If any loss is covered:
                            (1) Partly by this insurance; and
                            (2) Partly by any prior cancelled or terminated insurance
                            that we or any affiliate had issued to you or any
                            predecessor in interest;
                            the most we will pay is the larger of the amount
                            recoverable under this insurance or the prior insurance.

                              We will pay only for loss or damage you sustain through
                              acts committed or events occurring during the policy
                              period. Regardless of the number of years this policy
                              remains in force or the number of premiums paid, no
                              Limit of Insurance cumulates from year to year or period
                              to period.

                                                     ***


        44.      Plaintiff Raymond's Ridgewood paid a premium for the policy issued by ACE to

it.




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       45.     Plaintiff Raymond's Ridgewood expected to receive the "benefit of its bargain" in

payment of the premium and receipt of the insurance policy, i.e. expected to receive insurance

coverage for employee dishonesty that occurred during the policy period.

       46.     The ACE policy covering employee dishonesty expressly covered for loss during

the policy period.

       47.     During the policy period of the ACE policy during which coverage was extended

by ACE to Raymond's Ridgewood for employee dishonesty, an employee, Michael D'Elia, stole

in excess of $25,000.

       48.     Due demand was made by Raymond's Ridgewood upon ACE for payment of

$25,000 for loss occurring during the ACE policy period, i.e. during the period the ACE policy

was in force covering Raymond's Ridgewood.

       49.     ACE has refused to pay the $25,000 due under the policy contending that it had a

"non-cumulation" clause in its policy that precluded Raymond's Ridgewood from recovering more

than $25,000 for employee dishonesty and it had already paid that amount under another policy,

Policy No. D95154311 in effect from November 15, 2022 to November 2023:

       50.     The New Jersey Supreme Court in Spaulding Composites Co., Inc. v. Aetna Cas.

& Surety Co., 176 N.J. 25 (2003) held that "non-cumulation" clauses were invalid as against public

policy in the State of New Jersey because insured were entitled to the benefit of their bargain for

premium paid for each policy during which loss occurred.

       51.     ACE has wrongfully denied coverage under the policy issued to Raymond's

Ridgewood.

       WHEREFORE, plaintiff Raymond's Ridgewood demands judgment against ACE in the

amount of Twenty-Five Thousand ($25,000) Dollars plus interests and costs of suit.



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                                           COUNT FIVE

                        INSURER BAD FAITH AGAINST TRAVELERS


       52.     Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 51

of this Complaint as though fully set forth herein.

       53.     As an insurance company authorized to do business in New Jersey, defendant

Travelers has an obligation to act in good faith in considering and assessing plaintiffs' claims of

coverage under the policies issued to them.

       54.     N.J.S.A. 17:20B-4 prohibits the defendant Travelers from engaging in any unfair

claim settlement practices including failing to adopt and implement reasonable standards for the

prompt investigation of claims arising under the insurance policies; refusing to pay claims without

conducting a reasonable investigation based upon all available information; failing to affirm or

deny coverage of claims within a reasonable time after proof of loss statements have been

completed; no attempting in good faith to effectuate, prompt and equitable settlement of the claims

in which liability has become reasonably clear; compelling insureds to institute litigation to recover

amounts due under an insurance policy by offering substantially less than the amounts ultimately

recovered in actions brought by such insureds; attempting to settle a claim for less than the amount

to which a reasonable man would have been believed he was entitled by reference to written or

printed advertising material, accompanying or made part of such an application.

       55.     The insurance contract imposed on each party the duty of good faith and fair dealing

in their performance and their enforcement.

       56.     The defendant Travelers' representatives were obligated to exercise good faith and

reasonable skill in the construction of the defendant's policies, including meeting the requirements

ofN.J.S.A. l 7:20B-4.


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       57.          The defendant Travelers through its agents, failed to act in good faith in their

assessment of the terms and conditions of the defendant's policies.

       5 8.         The defendant Travelers failed to assess communications exchanged during the

course of negotiations between representatives of the parties, assess the statements of their own

underwriters, assess the underwriting documentation, or assess principles of law and accepted

construction of the terms of art within the defendant's policies.

       59.          In failing to act in good faith, the defendant Travelers' conduct constituted bad faith

and a violation of New Jersey law as set forth in Pickett v. Lloyd's, 131 N.J. 57 (1993).

       WHEREFORE, plaintiffs demand judgment against the defendant Travelers as well as:

                    a)     Declaring and adjudging that the defendant Travelers

              Indemnity Company of Connecticut breached its obligation to engage

              in good faith and fair dealing with respect to assessment of plaintiffs'

              claims for coverage under the policies;

                    b)     Declaring that defendant Travelers m bad faith m its

              assessment of plaintiffs' claims for coverage under the policies;

                    c)     Award compensatory and punitive damages in favor of the

              plaintiffs and against the defendant for its bad faith;

                    d)     Award attorney's fees and costs to the plaintiffs for violation

              by the defendant of its obligations to act in good faith and deal fairly;

              and

                    e)     For such other and further relief that the Court deems just

              under the circumstance.




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                                                 COUNT SIX

                            INSURER BAD FAITH AGAINST ACE


        60.    Plaintiffs repeat and reallege the allegations contained in paragraphs 1 through 59

of this Complaint as though fully set forth herein.

        61.    As an insurance company authorized to do business in New Jersey, defendant ACE

has an obligation to act in good faith in considering and assessing plaintiffs' claims of coverage

under the policies issued to them.

       62.     N.J.S.A. 17:20B-4 prohibits the defendant ACE from engaging in any unfair claim

settlement practices including failing to adopt and implement reasonable standards for the prompt

investigation of claims arising under the insurance policies; refusing to pay claims without

conducting a reasonable investigation based upon all available information; failing to affirm or

deny coverage of claims within a reasonable time after proof of loss statements have been

completed; no attempting in good faith to effectuate, prompt and equitable settlement of the claims

in which liability has become reasonably clear; compelling insureds to institute litigation to recover

amounts due under an insurance policy by offering substantially less than the amounts ultimately

recovered in actions brought by such insureds; attempting to settle a claim for less than the amount

to which a reasonable man would have been believed he was entitled by reference to written or

printed advertising material, accompanying or made part of such an application.

       63.     The insurance contracts imposed on each party the duty of good faith and fair

dealing in their performance and their enforcement.

       64.     The defendant ACE's representatives were obligated to exercise good faith and

reasonable skill in the construction of the defendant's policies, including meeting the requirements

ofN.J.S.A. 17:20B-4.


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       65.         The defendant ACE, through its agents, failed to act m good faith m their

assessment of the terms and conditions of the defendant's policies.

       66.         The defendant ACE failed to assess communications exchanged during the course

of negotiations between representatives of the parties, assess the statements of their own

underwriters, assess the underwriting documentation, or assess principles of law and accepted

construction of the terms of art within the defendant's policies.

       67.         In failing to act in good faith, the defendant ACE's conduct constituted bad faith

and a violation of New Jersey law as set forth in Pickett v. Lloyd's, 131 N.J. 57 (1993).

       WHEREFORE, plaintiffs demand judgment against the defendant ACE Property and

Casualty Insurance Company as well as:

                   a)     Declaring and adjudging that the defendant ACE Property

             and Casualty Insurance Company breached its obligation to engage in

             good faith and fair dealing with respect to assessment of plaintiffs'

             claims for coverage under the policies;

                   b)     Declaring that defendant ACE engaged in bad faith in its

             assessment of plaintiffs' claims for coverage under the policies;

                   c)     Award compensatory and punitive damages in favor of the

             plaintiffs and against the defendant for its bad faith;

                   d)     Award attorney's fees and costs to the plaintiffs for violation

             by the defendant of its obligations to act in good faith and deal fairly;

             and

                   e)     For such other and further relief that the Court deems just

             under the circumstance.



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                             DESIGNATION OF TRIAL COUNSEL

        Pursuant to the provisions of Rule 4:25-4, this court is hereby advised that Thomas D.

Flinn, Esq. is designated as trial counsel for Plaintiffs, Raymond's Montclair and Raymond's

Ridgewood.

                           CERTIFICATION PRUSUANT TO R.1:38-1

        Pursuant to R. 1:38-7 (b ), I hereby certify that confidential personal identifiers, if any, have

. been redacted from documents now submitted to the court and will be redacted from all documents

submitted in the future.

                                                        GARRITY, GRAHAM MURPHY,
                                                        GAROFALO & FLINN, P.C.
                                                        Attorneys for Plaintiff, Raymonds
                                                        Restaurant Corp. d/bla Raymond's
                                                        (Montclair) and Raymond's Ridgewood,
                                                        LLC

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                                                                FRANCIS X. GARRITY

DATED: November 14, 2024




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                        CERTIFICATION PURSUANT TOR. 4:5-1

       The undersigned certifies that the matter stated herein is not the subject of any other

pending action in any court or any arbitration proceeding nor is any other action or arbitration

proceeding presently contemplated.

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.




                                                    GARRITY, GRAHAM MURPHY,
                                                    GAROFALO & FLINN, P.C.
                                                    Attorneys for Plaintiff, Raymonds
                                                    Restaurant Corp. dlbla Raymond's
                                                    (Montclair) and Raymond's Ridgewood,
                                                    LLC

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                                                           FRANCIS X. GARRITY


DATED: November 14, 2024




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